         Case 8:22-cv-02329 Document 1-1 Filed 10/11/22 Page 1 of 1 PageID 16



   To Whom it may concern,


   After receiving the enclosed notice from Becky at Bahia Vista Estates I would very strongly disagree with
   the notion that my brothers dog is at all vicious for several reasons.
   My brother is emotionally handicapped and the dog is an emotional support dog.
   He has had the dog for several years now and is walked around the neighborhood regularly and on a
   daily basis without any prior incidents of biting and or viciousness.
   We can have several witnesses in the park testify to this as well as his case worker and the vet.
   This incident evidently occurred while the dog was having an altercation with another dog and the
   complain tent was trying to intervene and one of the dogs bit her but at this point we don't even know
   which dog it was.
   It also happens to be the same person who had to have their dog removed from the park for biting
   Daves dog and sent her to the vet for a very healthy bill which we paid and she was told she had to
   reimburse us which we never have received. She will not respond to Daves case worker and has on
   several occasions said he will not be paid by her. Seems like a terrible coincidence?
   With that being said Dave has been told to never take his dog off our property or off leash and he can
   take the dog to the dog park off site if he chooses and he has to avoid her property ataU costs.
    Seems he has been told this before and did not pay attention. At this time he was devastated of the
    thought of losing his companion and I can assure you he will not be anywhere close to her unrt and the
    dog will not leave his property.
    With Daves medical Dr., case worker, vet and other witnesses I informed him this will not happen as
    long as he abides by the new set of rules and I am confident you will agree.
    I realize Dave has other issues with running his mouth when he dosen'tget his way with his illness and
    as his Power of Attorney I will do everything in my power to see that does not happen again and he
    needs to personally apologize to Becky for being rude and Becky has bent overba ckwards for Dave in
    the past and she does a great job of park management as we have had different family members in the
    park for several years now.
    My name is Jack Wallace and contact is 941-320-8700 if you wish to talk I am available.


�ou in advance foryou, consideration in this matter.




                                 PLAINTIFF'S EXHIBIT A
